EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   IARNACH TECHNOLOGIES LTD.,                      §
                                                   §
                 Plaintiff,
                                                   §
   v.                                              §
                                                   §   CIVIL ACTION NO. 2:24-CV-00230-JRG
   CHARTER COMMUNICATIONS INC., et
   al.,                                            §
                                                   §
                 Defendants.                       §
                              MEMORANDUM OPINION AND ORDER

         Before the Court is Plaintiff Iarnach Technologies Ltd.’s (“Plaintiff” or “Iarnach”) Motion

  to Compel Venue Discovery (the “Motion”). (Dkt. No. 73.) In the Motion, Plaintiff requests the

  Court to order Charter Communications, Inc.; Charter Communications Holding Company, LLC;

  Charter Communications Operating, LLC; Spectrum Management Holding Company, LLC; and

  Spectrum Gulf Coast, LLC (collectively, “Defendants” or “Charter” and with Plaintiff, the

  “Parties”) to produce certain venue discovery. (Id. at 1.) Having considered the Motion, and for

  the following reasons, the Court finds that the Motion should be GRANTED-IN-PART and

  DENIED-IN-PART.

  I.     INTRODUCTION

         Plaintiff accuses Defendants of infringing U.S. Patent Nos. 8,942,378; 9,674,035; and

  9,287,982 (collectively, the “Asserted Patents”), each of which is generally directed to passive

  optical networks. (Dkt. No. 43 (Second Amended Complaint for Patent Infringement) ¶¶ 12, 47–

  112.) Specifically, Plaintiff alleges that Defendants’ optical equipment infringes the Asserted

  Patents by implementing Data Over Cable Service Interface Specification Provisioning of Ethernet

  Passive Optical Network version 2.0 (“DPoE v2.0”) networks and network services. (Id. ¶¶ 55, 75,

  99.) “The infringing activities include, but are not limited to, the manufacture, use, sale,
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  importation, and/or offer for sale of products and/or services by Charter for operation on its DPoE

  v2.0 networks and network services.” (Id.)

         Shortly after Plaintiff filed its Second Amended Complaint, the Parties requested, and the

  Court granted, venue discovery. (Dkt. Nos. 45, 46.) The Court granted venue discovery because

  Defendants filed a Motion to Transfer Under 28 U.S.C. § 1404(a), in which Defendants argue that

  this case should be heard in the District of Colorado. (Dkt. No. 31.)

         On October 10, 2024, the Court issued an Order extending venue discovery up to and

  including October 31, 2024. (Dkt. No. 70 at 1.) Consequently, the Court also extended (1)

  Plaintiff’s deadline to respond to Defendants’ Motion to Transfer Under 28 U.S.C. § 1404(a) to

  November 14, 2024, and (2) Defendants’ deadline to file a reply brief to November 28, 2024. (Id.)

  II.    LEGAL STANDARD

         The rules of discovery “are to be accorded a broad and liberal treatment to effect their

  purpose of adequately informing the litigants in civil trials.” Herbert v. Lando, 441 U.S. 153, 177

  (1979). “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

  party’s claim or defense and proportional to the needs of the case.” FED. R. CIV. P. 26(b)(1). Rule

  37 allows a discovering party, on notice to other parties and all affected persons, to “move for an

  order compelling disclosure or discovery.” FED. R. CIV. P. 37(a)(1). “The moving party bears the

  burden of showing that the materials and information sought are relevant to the action or will lead

  to the discovery of admissible evidence.” Tim Long Plumbing, Inc. v. Kinsale Ins. Co., No. 4:20-

  cv-00042, 2020 WL 6559869, at *2 (E.D. Tex. Nov. 9, 2020) (citing Export Worldwide, Ltd. v.

  Knight, 241 F.R.D. 259, 263 (W.D. Tex. 2006)). Once the moving party establishes that the

  materials requested are within the scope of permissible discovery, the burden shifts to the party

  resisting discovery to show specifically why the discovery is irrelevant, overly broad, unduly

  burdensome or oppressive, and thus should not be permitted. Id.
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  III.   ANALYSIS

         In the Motion, Plaintiff requests the Court to order Defendants to produce several

  categories of information that they have “already agreed to provide.” (Dkt. No. 73 at 1.) The Court

  will address each category separately.

         A.      Employees in Texas and Missouri

         First, Plaintiff argues that Defendants “should be ordered to identify each employee in

  Texas and Missouri who is likely to have relevant knowledge, either because they work on one of

  the teams Charter itself says are relevant or because they have job duties related to the Accused

  Instrumentality.” (Dkt. No. 73 at 2.) Plaintiff argues that Defendants have “an affirmative duty to

  candidly investigate its employees in Texas and turn over the results of that investigation in

  discovery,” and Plaintiff further argues that Defendants must disclose relevant employees in

  Missouri because Defendants’ declarant stated

                                            .” (Id. at 2–3.) Plaintiff also contends that it has found

  previously undisclosed and relevant technical witnesses located in Texas and Missouri based on

  LinkedIn profiles, contrary to Defendants’ declarant, who stated that

                                               . (Id. at 3–4.) Plaintiff further argues that “Charter

  refuses to identify its relevant non-technical employees in Texas and Missouri” because, for

  example, while Charter’s declarant stated

                                , Defendants have

                                                               (Id. at 4–5.)

         In response, Defendants argue that they have fulfilled their discovery obligations. (Dkt.

  No. 77 at 2.) Regarding technical employees, Defendants state that they have “identified every

  team with knowledge of the design, development, testing, selection, configuration, and operation

  of the Accused Instrumentalities.” (Id.) Defendants argue that the 29 employees Plaintiff

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  previously identified as “purportedly knowledgeable about the Accused Instrumentalities based on

  only their LinkedIn profiles” did not know about or were involved “with the design, development,

  testing, selection, configuration, or operation of that technology.” (Id. at 3.) Defendants state that

  they have confirmed that the individuals specifically named by Plaintiff in the Motion “do not have

  any involvement with Charter’s ONUs and OLTs or their operations.” (Id.) Defendants further

  contend that additional employees Plaintiff identified “lack knowledge about the design,

  development, testing, selection, configuration, or operation of the Accused Instrumentalities,”

  except for

                                                                                       .” (Id. at 3–4.)

  Regarding marketing, financial, and legal employees, Defendants argue that they have “identified

  each non-technical team with relevant knowledge in its discovery responses, including the



                                                                         .” (Id. at 4.) Defendants also

  state that they have investigated the non-technical employees Plaintiff identified in the Motion and

  confirmed that they do not have knowledge of the Accused Instrumentalities. (Id. at 4–5.)

         Defendants further state that the Accused Instrumentalities, which relate to DPOE v2.0, are

  different than most of Defendants’ network, which




                 (Id. at 1–2.) According to Defendants,



                                                                                                 (Id. at

  2.)



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         The Court finds that this portion of the Motion should be GRANTED. The dispute

  primarily concerns the scope of the “Accused Instrumentalities.” Plaintiff has defined this term as

  follows:

         “the functionality necessary for Charter to provide DPoE v2.0 compliant networks
         to its customers, including all hardware and software, optical line terminals (OLTs),
         optical network units (ONUs)/optical network terminals (ONTs), transport
         networks, and DOCSIS back office equipment (e.g. the Operation Support
         System, OSS),” and “at least the following fiber equipment in its DPoE network:
         (A) Spectrum ONU (SONU) Modem, 10G EPON DPoE Advanced Fiber Voice
         Modem; (B) Alcatel-Lucent XE-040G-A ONT, 10G EPON Bridging Optical
         Network Unit; (C) Commscope C1004, 10G EPON Bridging Optical Network
         Unit; and (D) Adtran 1004W.”

  (Dkt. No. 77-1 ¶ 3 (emphasis added).) Defendants do not object to Plaintiff’s definition—in fact,

  Defendants embrace it. (Dkt. No. 77 at 1.) However, the definition of “Accused Instrumentalities”

  is broader than Defendants admit. Indeed, it encompasses at least some DOCSIS equipment, which

  undermines Defendants’ argument that



                                                             (Id. at 2.) Defendants’ attempt to ignore

  this (and other) aspects of the definition of “Accused Instrumentalities” to instead focus on OLTs

  and ONUs disregards the full scope of the definition of “Accused Instrumentalities” and Plaintiff’s

  discovery requests. Accordingly, the Court finds that Defendants must identify each employee in

  Texas and Missouri who is likely to have relevant knowledge because they have job duties related

  to the Accused Instrumentalities.

         Additionally, Defendants represent that they have “identified every team with knowledge

  of the design, development, testing, selection, configuration, and operation of the Accused

  Instrumentalities” and “identified each non-technical team with relevant knowledge in its

  discovery responses.” (Dkt. No. 77 at 2, 4.) To the extent that Defendants’ team identifications are

  based upon Defendants’ narrow interpretation of “Accused Instrumentalities,” the Court finds that
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  Defendants must further identify each employee in Texas and Missouri who is likely to have

  relevant knowledge because they work on a relevant team.

         B.      Former Employees in Texas and Missouri

         In the Motion, Plaintiff argues that Defendants “should also be ordered to identify each

  former employee in Texas and Missouri, employed in the past six years, who is likely to have

  relevant knowledge, either because they worked on one of the teams Charter itself says are relevant

  or because they had job duties related to the Accused Instrumentality.” (Dkt. No. 73 at 5.) Plaintiff

  identifies two former employees as allegedly relevant and states that Defendants have “refused to

  provide any discovery whatsoever about former employees.” (Id. at 5–6.)

         In response, Defendants argue that they have investigated potentially relevant former

  employees, just as they have investigated potentially relevant current employees. (Dkt. No. 77 at

  5.) However, Defendants are “not aware of any relevant former employees and has clarified as

  such in its supplemental interrogatory responses.” (Id.)

         The Court finds that this portion of the Motion should be GRANTED for the reasons

  explained above. Defendants must identify each former employee in Texas and Missouri,

  employed in the past six years, who is likely to have relevant knowledge, either because they

  worked on one of the teams Charter itself says are relevant or because they had job duties related

  to the “Accused Instrumentalities.” Defendants must apply the proper scope of “Accused

  Instrumentalities.”

         C.      Document Custodians in Texas

         In the Motion, Plaintiff argues that Defendants “should be ordered to identify each

  employee in Texas who can access the                                       that Charter itself claims

  are relevant.” (Dkt. No. 73 at 6.) Plaintiff contends that Defendants fail to give a straightforward



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  answer regarding how employees on relevant teams in Texas and Missouri

            . (Id.)

         In response, Defendants state that they have provided who can access “the information

  about the Accused Instrumentalities stored in” the                                      . (Dkt. No. 77

  at 5.) Defendants argue that they have identified relevant document custodians. (Id.) According to

  Defendants, “[t]o require Charter to identify each and every person who may have access to a

                                                   rather than the information about the Accused

  Instrumentalities stored there would place a burden greatly unproportional to the needs of this case

  and inconsistent with any Volkswagen factors.” (Id. at 5–6.)

         The Court finds that this portion of the Motion should be DENIED. The Court agrees with

  Defendants that identifying all Texas employees with access to the

  would go beyond the needs of this case. Based upon Defendants’ representations, they have

  already provided information on who can access the information about the Accused

  Instrumentalities. Under these circumstances, such information is sufficient.

         D.       Defendants’ Texas Locations

         In the Motion, Plaintiff argues that “Charter should be ordered to disclose how many

  employees work at each of the      Charter locations in Texas and describe and [sic] the nature and

  duration of the activities conducted at each location with enough detail so that Iarnach can assess

  whether those activities are relevant to this lawsuit.” (Dkt. No. 73 at 6.) Plaintiff states that while

  Defendants have provided a list of their Texas locations, they have not stated (1) what work is

  performed at each location, (2) whether that work relates to the Accused Instrumentalities, and (3)

  how many employees work at each location. (Id. at 6–7.)

         In response, Defendants argue that “the number of employees at each of these locations,

  none of whom have any relevant knowledge, are not part of any Volkswagen factors.” (Dkt. No.
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  77 at 6.) Defendants further argue that they (1)

                                                                      (2) are “not aware of anyone at these

  locations involved in the design, development, selection, testing, operation or configuration of the

  Accused Instrumentalities,” and (3) are making available a corporate representative that can

  answer deposition questions on these locations. (Id.) 1

          The Court finds that this portion of the Motion should be GRANTED. To the extent

  Defendants only provided descriptions such as                                                such is insufficient,

  despite Defendants’ argument that they

                                                                      (Id.) Defendants must provide specific

  business functions performed at each of their Texas locations. Additionally, Defendants must

  provide the number of employees that work at each Texas location. While this request does not go

  to the heart of one of the Volkswagen factors, this information is still relevant to a venue analysis

  and could lead to other probative discovery. Moreover, while Defendants state that they are “not

  aware of anyone at these locations involved in the design, development, selection, testing,

  operation or configuration of the Accused Instrumentalities,” Defendants are silent as to non-

  technical discovery. Accordingly, this discovery should be produced.

          E.       Components of the Accused Instrumentality in Texas and Missouri

          In the Motion, Plaintiff argues that Defendants “should be ordered to provide the location

  and description of each component of the Accused Instrumentality located in Texas or Missouri.”

  (Dkt. No. 73 at 7.) According to Plaintiff, such components “are relevant physical evidence of

  infringement” and “[c]ourts routinely compel defendants to disclose the locations of their accused

  instrumentalities.” (Id.)


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   Defendants also clarify that they have   locations in Texas, not    as Plaintiff states in the Motion. (Dkt. No. 77 at
  6.)

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         In response, Defendants argue that “[t]his request is equivalent for a plaintiff seeking the

  locations of every television set accused of patent infringement in the state.” (Dkt. No. 77 at 6–7.)

  Defendants have

                                                       and the components are not physical evidence

  because infringement is dependent upon how the Accused Instrumentalities operate based upon

  technical documents. (Id. at 7.)

         The Court finds that this portion of the Motion should be GRANTED. Defendants admit

  that

                                          . The Court finds that Defendants have again restricted the

  definition of “Accused Instrumentalities” to focus on ONU and OLT to the exclusion of other

  relevant types of instrumentalities. Accordingly, Defendants must provide the location and

  description of each component (e.g., OLTs, ONUs, and DOCSIS equipment) of the Accused

  Instrumentality located in Texas or Missouri. However, Defendants “need not identify components

  located on customer premises” (Dkt. No. 73 at 7 n.3), including “the locations of every television

  set accused of patent infringement in the state.” (Dkt. No. 77 at 7.)

         F.      Production of Relevant Documents

         In the Motion, Plaintiff argues that Defendants “should be ordered to produce documents

  responsive to the above topics” because they have not provided any documents about (1) their

  employees, (2) their allegedly relevant teams, and (3) components of the Accused Instrumentalities

  in Texas or Missouri. (Dkt. No. 73 at 7.)

         In response, Defendants argue that the information Plaintiff seeks “is not set forth in

  documents,” but “[t]o the extent documents have existed, [Defendants have] produced them.”

  (Dkt. No. 77 at 7.)



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            The Court finds that this portion of the Motion should be GRANTED to the extent that

   Defendants have been withholding any documents related to the portions of the Motion granted

   above.

   IV.      CONCLUSION

            For the reasons noted above, the Court finds that the Motion should be GRANTED-IN-

   PART and DENIED-IN-PART as set forth herein. Accordingly, it is ORDERED that

   Defendants provide the above-referenced venue discovery. It is further ORDERED that

   Defendants shall produce such discovery within fourteen (14) days of entry of this Order. Venue

   discovery shall be extended and will close twenty-one (21) days from entry of this Order.

   Plaintiff’s response to Defendants’ Motion to Transfer, or in the Alternative, Motion to Dismiss

   (Dkt. No. 31) shall be due within thirty-five (35) days from entry of this Order, and Defendants’

   reply thereto shall be due within forty-nine (49) days from entry of this Order.

            Plaintiff and Defendants are directed to jointly prepare a redacted version of this Order for

   public viewing and to file the same on the Court’s docket as an attachment to a Notice of Redaction

   within seven (7) days hereof.

         So ORDERED and SIGNED this 29th day of October, 2024.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




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